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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 0:11-CV-62661-COHN/SELTZER

  LILA LEVY,

           Plaintiff,

  vs_

  HOME DEPOT U.S.A., INC.

           Defendant.


        STIPULATION AND FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE

                An amicable settlement of all matters and things in dispute between the parties has

 been made. It is therefore,

                STIPULATED AND AGREED by and between the parties that the above cause

 may be dismissed with prejudice, each party to bear its own costs, and all liens, claims and

 subrogated interests are to be paid by the Plaintiff out of the settlement proceeds, and the

  Defendant is hereby discharged from any further responsibility with respect to such liens, claims

 and subrogated interests.

                DATED this on

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